














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-76,324-01






EX PARTE STEVEN LYNN LONG








ON APPLICATION FOR WRIT OF HABEAS CORPUS


CAUSE NO. F-05-52918-R IN THE 265TH JUDICIAL DISTRICT COURT


DALLAS COUNTY






	Per curiam.



O R D E R



	This is a post conviction application for writ of habeas corpus filed pursuant to the
provisions of Texas Code of Criminal Procedure article 11.071.

	Applicant was convicted in October 2006 of capital murder committed on May 21,
2005.  Tex. Penal Code Ann. § 19.03(a)(2).  Based on the jury's answers to the special
issues set forth in the Texas Code of Criminal Procedure, Article 37.071, sections 2(b) and
2(e), the trial court sentenced him to death.  Art. 37.071, § 2(g). (1)  This Court affirmed
applicant's conviction and sentence on direct appeal.  Long v. State, AP-75,539, 2009 Tex.
Crim. App. Unpub. LEXIS 250 (Tex. Crim. App. April 8, 2009) (not designated for
publication).

	Applicant presented three allegations in his application in which he challenges the
validity of his conviction and sentence.  Following a live evidentiary hearing, the trial judge
entered findings of fact and conclusions of law and recommended that relief be denied.

	This Court has reviewed the record with respect to the allegations made by applicant. 
We agree with the trial judge's recommendation and adopt the trial judge's findings and
conclusions, except for paragraphs 1-3, 143-49, 202, and 267.  Based upon the trial court's
findings and conclusions and our own review of the record, relief is denied.

	IT IS SO ORDERED THIS THE 7th DAY OF MARCH, 2012.


Do Not Publish
1.   Unless otherwise indicated, all references to Articles are to the Texas Code of Criminal
Procedure.


